                  IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                           NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In the Matter of:                         )
                                          )
ANTHONY LEE PIERCE                        )                      CASE NO. 11-83381-CRJ-13
SSN: XXX-XX-3914                          )                      CHAPTER 13
                                          )
PEGGY HARBIN PIERCE                       )
SSN: XXX-XX-6237                          )
                                          )
Debtors.                                  )
__________________________________________)

  ORDER APPROVING APPLICATION TO EMPLOY JAMES H. RICHARDSON AS
                        SPECIAL COUNSEL

       This matter came before the Court on Monday, November 23, 2015 at 01:30 p.m., for a
hearing on the following:
       RE: Doc #129; Application to Employ James H. Richardson as Special Counsel Filed by
Debtors
          Anthony Lee Pierce, Joint Debtor Peggy Harbin Pierce (Attachments: # 1 Verified Statement of
          James H. Richardson, Atty.) (Heard, Kevin)

Proper notice of the hearing was given and appearances were made by the following:
       Adam C. Dauro, standing in on behalf of Kevin D. Heard, attorney for the Debtors
       Michele Hatcher on behalf of the Chapter 13 Trustee

It is therefore ORDERED, ADJUDGED and DECREED that:

          The Application to Employ James H. Richardson as Special Counsel filed by Kevin D.
          Heard of Heard, Ary & Dauro, LLC, Attorney for Debtors is APPROVED with the
          provision that the Trustee nor the estate will be responsible for any fees or expenses
          incurred during the representation in the matter.

Dated this the 25th day of November, 2015.

                                                         /s/ Clifton R. Jessup, Jr.
                                                         Clifton R. Jessup, Jr.
                                                         United States Bankruptcy Judge
Order Prepared by:
Kevin D. Heard
Heard, Ary & Dauro, LLC
303 Williams Avenue
Park Plaza, Suite 921
Huntsville, AL 35801
Tel: 256-535-0817/Fax: 256-535-0818
kheard@heardlaw.com




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